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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

                              CASE NO. 22-CV-81294-CANNON

  DONALD J. TRUMP,

         Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendant.
  ________________________________/

       THE UNITED STATES’ REPLY IN SUPPORT OF ITS MOTION TO STAY
                            PENDING APPEAL

         The United States’ motion for a stay pending appeal of this Court’s September 5, 2022

  Order, Docket Entries (“D.E.”) 69, 64, seeks limited but critical relief. The government seeks

  a stay only as to a discrete set of just over 100 records marked as classified—that is, records

  that were specifically sought by a prior grand jury subpoena, whose unauthorized retention

  may constitute a crime, 18 U.S.C. § 793, and with markings signifying that their unauthorized

  disclosure “reasonably could be expected to result in damage to the national security,”

  including “exceptionally grave damage,” Exec. Order 13526 §§ 1.1(4), 1.2(1) (Dec. 29, 2009).1

         The government’s stay motion demonstrates that the government is likely to succeed

  on the merits because Plaintiff cannot plausibly establish any property interest in or privilege



  1
    Plaintiff has characterized the government’s criminal investigation as a “document storage
  dispute” or an “overdue library book scenario.” D.E. 84 at 1; 9/1/22 Hrg. Tr. at 31:20-21. In
  doing so, Plaintiff has not addressed the potential harms that could result from mishandling
  classified information or the strict requirements imposed by law for handling such materials.
  See 32 C.F.R. § 2001.43 (describing detailed requirements for the storage of TOP SECRET
  information, including approved vaults, alarm systems, and construction specifications).
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  claim as to the seized records marked as classified, that the government and the public are

  irreparably harmed while the Court’s Order as to those records remains in effect, and that a

  partial stay would impose no cognizable harm on Plaintiff. Plaintiff’s Response, D.E. 84,

  largely ignores those showings. Instead, Plaintiff principally seeks to raise questions about the

  classification status of the records and their categorization under the Presidential Records Act

  (“PRA”). But Plaintiff does not actually assert—much less provide any evidence—that any

  of the seized records bearing classification markings have been declassified. More

  importantly, the issues Plaintiff attempts to raise are ultimately irrelevant. Even if Plaintiff

  had declassified these records, and even if he somehow had categorized them as his

  “personal” records for purposes of the PRA—neither of which has been shown—nothing in

  the PRA or any other source of law establishes a plausible claim of privilege or any other

  justification for an injunction restricting the government’s review and use of records at the

  center of an ongoing criminal and national security investigation. And nothing in Plaintiff’s

  Response rebuts the compelling public interest in granting the limited stay the government

  seeks.

                                          DISCUSSION

     I.       The Government Is Likely to Succeed on the Merits

           First, Plaintiff has failed to rebut the government’s showing that the Court lacks

  equitable jurisdiction as to seized records bearing classification markings because Plaintiff

  categorically has no “property” interest in those records and no “need for” their return. D.E.

  69 at 6-7 (citing Richey v. Smith, 515 F.2d 1239, 1243-44 (5th Cir. 1975)). Plaintiff instead

  references other seized records that contain personal information or could be subject to



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  attorney-client privilege, none of which are at issue in this stay motion. D.E. 84 at 7-8. As to

  the records marked as classified, Plaintiff asserts that the government has not “proven” their

  classification status. Id. at 8. But even if Plaintiff had declassified any of these records while

  he was President—a proposition that Plaintiff does not specifically assert in any of his filings

  in these proceedings, in a sworn declaration, or through any evidence—any record bearing

  classification markings was necessarily created by the government and, therefore, is not

  Plaintiff’s personal property. Furthermore, although Plaintiff observes that the PRA generally

  entitles him to access Presidential records created during his tenure, see id.; 44 U.S.C. §

  2205(1), (3) (records “in the custody of the Archivist” “shall be available” to a former

  President or his designee), the PRA does not establish that a former President has any

  property right in Presidential records. To the contrary, it makes clear that “[t]he United

  States” has “complete ownership, possession, and control” of them. 44 U.S.C. § 2202.

  Plaintiff thus has no plausible property interest that would justify compelling this discrete set

  of records to be returned to him. The government is thus likely to succeed on jurisdictional

  grounds alone.

         Second, Plaintiff has no viable claim of privilege as to the records bearing classification

  markings. He does not contest that he lacks a viable personal attorney-client privilege claim

  with regard to records marked as classified, because such records would not contain

  communications between Plaintiff and his personal attorneys. See D.E. 69 at 8. And Plaintiff

  offers no response to the government’s multiple arguments demonstrating that he cannot

  plausibly assert executive privilege to prevent the Executive Branch itself from reviewing

  records that Executive Branch officials previously marked as classified. The government



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  explained that Nixon v. Administrator of General Services, 433 U.S. 425 (1977) (“Nixon v. GSA”),

  precludes a successful assertion of executive privilege against the Executive Branch; that any

  assertion here would in any event be overcome under United States v. Nixon, 418 U.S. 683

  (1974), given the government’s compelling need for these records, the unauthorized retention

  of which is the very subject matter of the government’s criminal investigation; that any claim

  of privilege over these records is further foreclosed because the Constitution vests the

  incumbent President with the authority to control access to classified information; and that

  Plaintiff failed to raise any purported executive privilege claims when responding to a grand

  jury subpoena for all documents in his possession bearing classification markings. D.E. 69 at

  8-12. Plaintiff does not address any of those arguments.

         Instead, Plaintiff notes only that this Court “expressed skepticism” about the

  government’s executive privilege arguments in its prior Order. D.E. 84 at 10. But the Court’s

  observations focused on whether a former President is entirely foreclosed from asserting

  executive privilege against the Executive Branch. D.E. 64 at 17. The Court did not address

  the government’s arguments specifically establishing that no plausible assertion of privilege

  could bar the review by the Executive Branch of the discrete set of seized records bearing

  classification markings in the context of an ongoing criminal and national security

  investigation. In any event, it is Plaintiff—not the Court and not a special master—who would

  need to make an assertion of executive privilege and supply reasons supporting that assertion.

  He has provided none.

         Plaintiff’s attempts to change the subject by holding out the possibility that he could

  have declassified some of the seized records and/or that he could have designated them as



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  “personal” records, D.E. 84 at 11-15, fare no better. As already noted, Plaintiff has now filed

  multiple lengthy submissions with the Court that stop short of asserting that he in fact took

  any of these actions with respect to any of the seized records, including those at issue in the

  stay motion. In light of the classification markings, official cover sheets, and other indicia of

  classification attendant to these materials, see, e.g., D.E. 48-1, Attachment F, such possibilities

  should not be given weight absent Plaintiff’s putting forward competent evidence.

         In any event, even if Plaintiff had declassified any of the approximately 100 seized

  records bearing classification markings while he was still in office, the government’s

  “demonstrated, specific need” for those records, United States v. Nixon, 418 U.S. at 713, would

  easily overcome any asserted claim of privilege. For obvious reasons, the Intelligence

  Community (“IC”) would have a compelling need to understand which formerly-classified

  records have now been declassified, why and how they were declassified, and the impact of

  any such declassification, including on the IC’s protection of its sources and methods and on

  the classification status of related records or information. The Department of Justice (“DOJ”)

  and Federal Bureau of Investigation (“FBI”) would also have a compelling need to review

  any purportedly declassified records as part of the government’s investigation into the

  adequacy of the response to the May 2022 grand jury subpoena, which sought “[a]ny and all

  documents or writings in the custody or control of Donald J. Trump and/or the Office of

  Donald J. Trump bearing classification markings.” D.E. 48-1 Attachment C (emphasis added).

  Furthermore, the government would need to consider the records’ prior declassification as

  relates to the application of 18 U.S.C. § 793. See D.E. 69 at 14 (explaining the relevance of

  classification status in such matters).



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         Plaintiff’s suggestion that he “may have categorized certain of the seized materials as

  personal [records] during his presidency” pursuant to the PRA, D.E. 84 at 15, if true, would

  only supply another reason that he cannot assert executive privilege with regard to those

  records. If Plaintiff truly means to suggest that, while President, he chose to categorize records

  with markings such as “SECRET” and “TOP SECRET” as his personal records for purposes

  of the PRA, then he cannot assert that the very same records are protected by executive

  privilege—i.e., that they are “Presidential communications” made in furtherance of the

  “performance of his official duties.” Nixon v. GSA, 433 U.S. at 447, 456; see 44 U.S.C.

  § 2201(3) (defining “personal records” as records “of a purely private or nonpublic character

  which do not relate to or have an effect upon the carrying out of the constitutional, statutory,

  or other official or ceremonial duties of the President”). In any event, whether Plaintiff

  declared documents with classification markings to be his “personal” records for purposes of

  the PRA has no bearing on the government’s compelling need to review them, both for

  national security purposes and as part of its investigation into the potentially unlawful

  retention of national defense information.2




  2
    Plaintiff’s characterization of the discretion the PRA provides the President to categorize
  records as “Presidential” or “personal,” D.E. 84 at 14-15 (citing Judicial Watch v. National
  Archives and Records Administration, 845 F. Supp. 2d 288 (D.D.C. 2012)), is thus irrelevant here.
  In any event, the district court decision on which Plaintiff relies did not concern classified
  records and does not support his assertion that a court must accept a former President’s claim
  that records that indisputably qualify as Presidential records under the PRA are instead
  personal records. Instead, the court in Judicial Watch concluded that it could not compel the
  National Archives and Records Administration to revisit a President’s decision about such a
  categorization. 845 F. Supp. 2d at 300-301. More fundamentally, the district court’s analysis
  in Judicial Watch has no bearing on the application of criminal law regarding unauthorized
  retention of national defense information, unauthorized removal of government documents,
  or obstruction of justice. 18 U.S.C. §§ 793, 2071, 1519.

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           More generally, Plaintiff’s Response disregards this Court’s acknowledgement of its

  “limited power in this domain” involving the exercise of equitable jurisdiction in connection

  with an ongoing criminal investigation. D.E. 64 at 8. The Court ordered the appointment of

  a special master solely to “manage assertions of privilege and make recommendations

  thereon, and evaluate claims for return of property.” Id. at 23. The Court did not—and could

  not—appoint a special master to exercise roving “supervisory authority” over the

  government’s ongoing criminal investigation, contra D.E. 84 at 4, or to adjudicate matters

  ultimately irrelevant to Plaintiff’s potential privilege claims, such as whether Plaintiff might

  have declassified seized documents that bear classification markings or whether Plaintiff

  might have designated those documents as his “personal” records for purposes of the PRA.

  Because Plaintiff cannot plausibly assert executive privilege (or attorney-client privilege, see

  supra p. 3) as to any seized records bearing classification markings, the Court should not

  enjoin the government’s use of those records or order those records reviewed by a special

  master pending the government’s appeal.

     II.      The Government and the Public Will Suffer Irreparable Harm Absent a Stay

           The Court’s injunction against the government’s review of seized records bearing

  classification markings for purposes of its criminal investigation has caused and will continue

  to cause irreparable harm. As the government has explained, the IC’s intelligence

  classification review and national security assessment—which the Court sought to allow to

  continue in recognition of the vital interests at stake—are closely linked to its criminal

  investigation, and therefore cannot proceed effectively while the injunction remains in place.

  D.E. 69 at 12-16; see generally D.E. 69-1 (Declaration of Alan E. Kohler, Jr.). Plaintiff suggests



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  various potential methods for drawing a distinction, such as by allowing the government to

  use the records for “forward looking” assessments regarding the protection of “vital national

  interests” but not “backwards looking” inquiries into violations of law, D.E. 84 at 15-16, or

  by distinguishing between the government’s subjective “purpose” for reviewing or using the

  records, id. at 17. Plaintiff thus implicitly acknowledges that the government and the public

  would be irreparably harmed by an injunction that bars the effective conduct of a classification

  review and national security assessment. But as the government has demonstrated, its

  “forward looking” mission of protecting national security necessarily requires it to understand

  the extent to which classified information may have recently been compromised. D.E. 69 at

  14-15. And to the extent the Court’s injunction were to turn on the subjective “purpose”

  motivating individual government personnel, such an injunction could be subject to serious

  challenge for failure to “state its terms specifically” and to “describe in reasonable detail . . .

  the act or acts restrained.” Fed. R. Civ. P. 65(d)(1). In attempting to draw what are ultimately

  unworkable distinctions, Plaintiff only underscores that the government’s national security

  and criminal investigative missions are overlapping and mutually reinforcing.

         Furthermore, even if the IC, which includes the FBI, were permitted to resume its

  classification review and national security assessment in some limited manner, Plaintiff fails

  to address DOJ’s and the FBI’s inability, under the Court’s injunction, to use the seized

  records to investigate whether or to what extent the seized records were accessed by

  unauthorized individuals or whether other classified records remain missing. D.E. 69 at 14-

  17. Those are criminal investigative functions, and the government is irreparably harmed




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  while it is enjoined from using the seized records bearing classification markings for those

  purposes.

         For that and other reasons, the delay of the government’s criminal investigation

  constitutes its own irreparable harm. The government and the public unquestionably have an

  interest in the timely enforcement of criminal laws, particularly those involving the protection

  of highly sensitive information, and especially where, as here, there may have been efforts to

  obstruct its investigation. The government’s ability to perform other investigative tasks that do

  not require its review or use of the records marked as classified does not “refute[]” this

  irreparable harm. D.E. 84 at 18. These records are at the core of the government’s

  investigation, and the government’s inability to review and use them significantly constrains

  its investigation. The compelled disclosure of records marked as classified to a special master

  further harms the Executive Branch’s interest in limiting access to such materials absent any

  valid purpose served by their review. See United States v. Reynolds, 345 U.S. 1, 10-11 (1952)

  (courts should be cautious before requiring judicial review, even ex parte and in camera, of

  documents whose disclosure would jeopardize national security).

         Finally, Plaintiff’s submissions to the Court indicate that Plaintiff contemplates a

  prolonged 90-day review period by the special master. Thus, even assuming that a special

  master begins that review immediately, the review would not be complete until December

  under Plaintiff’s proposed timeline. All the while, the Intelligence Community would (at best)

  be limited in its ability to address and fully mitigate any national security risks presented by

  the storage and handling of the classified records at issue here, and DOJ and the FBI would

  be unable to perform critical parts of their criminal investigatory functions.



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      III.      Plaintiff Has Failed to Establish Any Cognizable Harm

             Plaintiff has not described any cognizable harm that he would incur from a partial

   stay. He states only that “enhanced vigilance” in this investigation will serve a public interest

   in fairness and transparency, going so far as to suggest that this investigation “must be

   conducted in public view.” D.E. 84 at 19-20. But the public is best served by evenhanded

   adherence to established principles of civil and criminal procedure, regardless of the identity

   of the parties or the degree of public attention. Here, the seized records bearing classification

   markings are the government’s own documents and are evidence obtained pursuant to a duly

   authorized search warrant in the course of a criminal investigation. The government and the

   public have a compelling interest in that investigation continuing. And Plaintiff is not entitled

   to restrict the government’s investigation pending a review of these records for privilege claims

   that cannot prevail.

                                             Conclusion

             The Court should stay its September 5, 2022 Order pending appeal to the extent the

   Order (1) enjoins the further review and use for criminal investigative purposes of records

   bearing classification markings and (2) requires the government to disclose those classified

   records to a special master.

                                               Respectfully submitted,


                                                       /s Juan Antonio Gonzalez
                                                       JUAN ANTONIO GONZALEZ
                                                       UNITED STATES ATTORNEY
                                                       Florida Bar No. 897388
                                                       99 NE 4th Street, 8th Floor
                                                       Miami, FL 33132
                                                       Tel: 305-961-9001


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                                           Email: juan.antonio.gonzalez@usdoj.gov


                                           MATTHEW G. OLSEN
                                           Assistant Attorney General
                                           National Security Division

                                            /s Jay I. Bratt
                                           JAY I. BRATT
                                           CHIEF
                                           Counterintelligence and Export Control
                                           Section
                                           National Security Division
                                           950 Pennsylvania Avenue, NW
                                           Washington, D.C. 20530
                                           Illinois Bar No. 6187361
                                           Tel: 202-233-0986
                                           Email: jay.bratt2@usdoj.gov
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 13, 2022, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

   document is being served this day on all counsel of record via transmission of Notices of

   Electronic Filing generated by CM/ECF.




                                            s/ Juan Antonio Gonzalez
                                            Juan Antonio Gonzalez
                                            United States Attorney
